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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

KATRINA JENNINGS, on behalf of               )
herself and all others similarly situated,   )
                                             )
               PLAINTIFF,                    )
                                             )
       v.                                    )             Case No. 18-cv-01413
                                             )
TRUNKETT & TRUNKETT, P.C.;                   )             Hon. Ruben Castillo
                                             )
               DEFENDANT.                    )             Magistrate Judge Sidney I. Schenkier


                                   INITIAL STATUS REPORT


       1.      Nature of The Case

               A. The names and contact information for all attorneys of record are:

               For Plaintiff
               Celetha Chatman
               Michael J. Wood
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               For Defendant
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               Chicago, Illinois
               Tel: 312-578-7422
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               B. Nature of the Claims:
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                  i.   Trunkett is alleged to have violated section 1692e, e(2)(A), and

                       e(10) of the FDCPA by serving Plaintiff with a lawsuit that lists

                       one entity as the plaintiff in the complaint, while the summons for

                       the same case lists another entity, as both entities cannot be the

                       plaintiff, and thus both entities cannot be the creditor to which the

                       debt is owed.

                 ii.   Trunkett is alleged to have misrepresented the amount and status of

                       an alleged debt, in violation of 15 U.S.C. § 1692e(5), when it

                       stated that attorneys’ fees were presently due prior to their being

                       awarded by any court.

                iii.   Trunkett is alleged to have attempted to collect an amount not

                       expressly authorized by any agreement, in violation of 15 U.S.C. §

                       1692f(1), when it unilaterally added attorneys’ fees to the balance

                       of an alleged debt prior to their being awarded by any Court.

                iv.    Trunkett is alleged to have made a false statement in connection

                       with the attempt to collect a debt, in violation 15 U.S.C. §

                       1692e(10), when it stated that there was a judgment against

                       Plaintiff in the state court action.

                 v.    Trunkett denies that it violated the FDCPA or that class

                       certification would be proper.

        C. Major Legal & Factual Issues:

                  i.   For the Plaintiff: Whether Plaintiff is a consumer; whether

                       Defendant is a debt collector as defined by the FDCPA; whether
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                       Defendant’s communications violated the FDCPA; whether the

                       alleged debt is a consumer debt.

                 ii.   For the Defendant: Whether the Court lacks subject matter

                       jurisdiction under the Rooker-Feldman doctrine; whether

                       plaintiff’s claims are barred by res judicata; whether plaintiff has

                       stated a claim under FDCPA; whether Defendant is liable under

                       the FDCPA or a class can be certified.

        D. Plaintiff seeks Under the FDCPA

                i. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1);

                ii. Statutory damages pursuant to 15 U.S.C. § 1692k(a)(2);

               iii. Costs and reasonable attorney fees pursuant to 15 U.S.C. §

                   1692k(a)(3); and

               iv. Such other or further relief as the Court deems proper.

        E. Jurisdiction

                v. This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and

                   28 U.S.C. § 1331. Defendant disputes jurisdiction.

 2. Status of Service: All Parties Have Been Served

 3. Motions: Defendant’s Motions to: (1) Dismiss and (2) Defer Responsive Pleading

     Deadline and Reset Time to Serve Mandatory Initial Discovery Responses (“Motion

     to Defer”)_ are currently pending before the court.

 4. Discovery Plan.

 Defendant has requested that its answer date and MIDP discovery responses be deferred,

 which plaintiff opposes. In the event Defendant’s Motion to Defer is denied:

        A. MIDP Responses will be due May 30, 2018
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            B. Written Discovery to be issued by June 29, 2018;

            C. Fact discovery to be completed by November 23, 2018;

            D. Parties do not anticipate any issues about the disclosure or discovery of

                electronically stored information (ESI).

            E. The parties do not anticipate the need for expert testimony at this time.

     5. Consent to Proceed Before a United States Magistrate Judge

            A. The Parties do not unanimously consent to proceed before the magistrate

                judge on all matters

     6. Status of Settlement Discussions:

            A. Plaintiff has not made a class demand.

            B. Parties do not request a settlement conference at this time.



	
      Counsel for Plaintiff                       Counsel for Defendant

      s/Celetha Chatman                           s/ James Sipchen
      Celetha Chatman                             James J. Sipchen
      Michael Wood                                Thomas V.P. Draths
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      Attorneys for Plaintiff
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                                  CERTIFICATE OF SERVICE

         I, Celetha Chatman, an attorney, hereby certify that on May 7, 2018, I electronically filed

the foregoing document using the CM/ECF system, which will send notification of such filing to

all attorneys of record.


    Dated: May 7, 2018                                                      Respectfully submitted,


                                                                        By:    /s/ Celetha Chatman
                                                                        One of Plaintiff’s Attorneys
	
	
                                                   	
	
	
	
	
	
	
	
	
	
	
